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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                                  Electronically Filed


JENNIFER MILLER              )
                             )
           PLAINTIFF         )
                             )
v.                           )                                3:21-cv-246-BJB
                                                    CASE NO. _________________________
                             )
BENJAMIN WHEELDON            )
                             )
and                          )
                             )
PILLAR SERVICES, LLC         )
                             )
and                          )
                             )
STATE FARM MUTUAL AUTOMOBILE )
INSURANCE COMPANY            )
                             )
           DEFENDANTS        )

                                  NOTICE OF REMOVAL

       Defendants, Benjamin Wheeldon and Pillar Services, LLC, by counsel, for their Notice of

Removal of this action from Jefferson Circuit Court, Jefferson County, Kentucky, to this Court

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, respectfully state as follows:

       1.      On December 18, 2020, Plaintiff filed an action against Defendants that is pending

in the Jefferson Circuit Court, Division Three, Civil Action No. 20-CI-007087. Defendants Mr.

Wheeldon and Pillar Services, LLC (“Pillar”) timely filed their Answer on January 20, 2021.

Defendant State Farm Mutual Automobile Insurance Company (“State Farm”) timely filed its

answer on December 29, 2020.

       2.      This action arises from a motor vehicle accident that allegedly occurred on

February 19, 2019 in Jefferson County, KY.
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         3.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332 (a) and (c)

because there is diversity of citizenship between the parties and the total amount claimed by

Plaintiff exceeds the jurisdictional minimum of $75,000.00, although Defendants deny liability to

Plaintiff for damages in any amount.

         4.       Plaintiff is a citizen of Kentucky.1

         5.       Mr. Wheeldon is a citizen of Floyd County, Indiana.2

         6.       Pursuant to Cosgrove v. Bartolotta, 150 F.3d 729 (7th Cir. 1998), a limited liability

company is a citizen, for diversity purposes, of the state in which its members are citizens. Pillar

has two members, who are both citizens of Floyd County, Indiana. Thus, Pillar is a citizen of

Indiana.

         7.       Upon information and belief, State Farm Mutual Automobile Insurance Company

is a corporation incorporated under Illinois law with its principal place of business in Illinois. State

Farm, by counsel, consented to this removal pursuant to 28 U.S.C. 1446(b)(2).

         8.       Pursuant to 28 U.S.C. § 1446(b), removal must be filed within thirty days after receipt

of the initial pleading setting forth the claim for relief. If, however, the case is not initially removable,

a notice of removal may be filed within thirty days after defendant receives a copy of a pleading,

motion, order or other paper from which “it may first be ascertained that the case is one which is

or has become removable” but no more than one year after commencement of the action.3

Plaintiff’s Complaint did not itemize damages or identify the amount in controversy. This Notice

of Removal is being filed within thirty days of receipt of Plaintiff’s Discovery Responses, which




1
  See Plaintiff’s Complaint, ¶ 1.
2
  See Plaintiff’s Complaint, ¶ 2.
3
  28 U.S.C. 1446(b)-(c).
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itemize significant damages for alleged past medical expenses and alleged shoulder surgery.4

Moreover, Plaintiff avers that she is continuing to seek medical treatment from at least two

providers.5 Plaintiff also seeks alleged future medical expenses, lost wages, diminished capacity

to labor and earn income, and pain and suffering damages.6 Taken together, Plaintiff’s averments

concerning the amount in controversy demonstrate that she seeks damages in excess of $75,000.00,

exclusive of interests and costs, although these Defendants deny liability for damages in any

amount pending discovery.7

         9.       Copies of all process, pleadings, and orders served as of the date of the filing of this

Notice of Removal are attached hereto as Exhibit 2.

         10.      A true and correct copy of Defendants’ Notice of Removal was filed with the Clerk

of Court of the Jefferson County Circuit Court today.

         WHEREFORE, Defendants, Benjamin Wheeldon and Pillar Services, LLC, respectfully

remove this case from the Jefferson Circuit Court to this Court for all further proceedings.




4
  Plaintiff avers that she has already incurred $70,903.89 in past medical expenses. She avers that she underwent right
shoulder surgery on May 28, 2020. See Plaintiff’s Response to Defendants’ First Set of Interrogatories and Requests
for Production of Documents, Interrogatory Nos. 14 and 16, which is attached as Exhibit 1.
5
  See Exhibit 1, Plaintiff’s Response to Defendants’ First Set of Interrogatories and Requests for Production of
Documents, Interrogatory No. 15.
6
  See Plaintiff’s Complaint, Ad Damnum Clause.
7
  See Fisher v. May, 2012 WL 1964564 at *2 (W.D.Ky. 2012) (“[h]aving already incurred nearly $16,000 in medical
bills for self-described serious injuries, it is more likely than not that the remainder of the damages sought by Fisher
pushed the amount in controversy over $75,000. For instance, it is perfectly reasonable to apply a ratio of 5 to 1 for
awards of pain and suffering in comparison to medical expenses to determine the amount in controversy.”). See also
Fenton v. Speedway, LLC, 2013 WL 2422877 at *2 (W.D.Ky. 2013) (“[i]n the present case, in addition to past medical
expenses exceeding $27,000, Fenton has also alleged lost wages totaling $9,288.22. Thus, it is reasonable to conclude
that future medical expenses, future lost wages, together with a claim for pain and suffering, will exceed $75,000.00,
exclusive of interest and costs.”).
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                                                    Respectfully submitted,

                                                    /s/ Thomas E. Stevens
                                                    Thomas E. Stevens
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                                                    Counsel for Benjamin Wheeldon and
                                                    Pillar Services, LLC




                                 CERTIFICATE OF SERVICE

       This is to certify that on the 17th day of April, 2021, a true and correct copy of the foregoing
Notice of Removal was filed electronically with the Clerk of the Court using the CM/ECF system,
which will send a notice of electronic filing to the following:

Chauncey R. Hiestand, Esq.
Patricia Morris, Esq.
Winton & Hiestand Law Group, PLLC
905 Baxter Avenue
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Counsel for Plaintiff

Mary S. Johnson, Esq.
8005 Lyndon Centre Way, Suite 201
Louisville, Kentucky 40222
Counsel for State Farm

                                                    /s/ Thomas E. Stevens_______________
                                                    Counsel for Benjamin Wheeldon and
                                                    Pillar Services, LLC
